     Case 2:22-cv-01531-DJH--MHB Document 1-3 Filed 09/12/22 Page 1 of 112



1

2

3

4
                            IN THE UNITED STATES DISTRICT COURT
5
                              FOR THE DISTRICT OF ARIZONA
6

7     Marcos A. Magana,                          NO. __________________

8                          Plaintiff,            INDEX
9
      v.
10

11
      County of Maricopa, a body
12    government of the State of Arizona;
      Paul Penzone, elected Sheriff of
13    Maricopa County; Detention Officer
14    Marrero B4675 and Spouse Marrero,
      husband and wife; Detention Officer
15    Cline B3662 and Spouse Cline,
      husband and wife; John Does and Jane
16
      Does I-X and Entities I-X,
17
                           Defendants.
18
      Exhibit:
19

20          (A) Civil Cover Sheet

21          (B) State Court Record
22               Attachments:
                 1. Supplemental Cover Sheet
23
                 2. Recent State Court Docket
24               3. Complaint
                 4. Service Documents
25               5. Remainder of the State Court Record
26               6. Verification of Anna G. Critz

27          (C) Superior Court Notice of Removal to the Federal District Court
28


                                                 1
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                            EXHIBIT A
                        Civil Cover Sheet
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                                           https://www.azd.uscourts.gov/cgi-bin/generate_civil_js44.pl


                                               UNITED STATES DISTRICT COURT
                                                   DISTRICT OF ARIZONA


                                                     Civil Cover Sheet
  This automated JS-44 conforms generally to the manual JS-44 approved by the Judicial Conference of the United States in September
  1974. The data is required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. The information contained
  herein neither replaces nor supplements the filing and service of pleadings or other papers as required by law. This form is authorized for
  use only in the District of Arizona.

    The completed cover sheet must be printed directly to PDF and filed as an attachment to the
                               Complaint or Notice of Removal.

                                                                                        Maricopa County ; Paul Penzone ,
                                                                                        Maricopa County Sheriff; Marrero
                                                                                        B4675, Officer; Cline B3662,
                                                                                        Officer; SPOUSE Mckay ; SPOUSE
   Plaintiff(s): Marcos A. Magana                                         Defendant(s):
                                                                                        Schneider ; SPOUSE Hobbs ;
                                                                                        SPOUSE Marrero ; SPOUSE Cline ;
                                                                                        John and Jane Does I-X ; Entities I-
                                                                                        X
   County of Residence: Maricopa                                         County of Residence: Maricopa
   County Where Claim For Relief Arose: Maricopa


   Plaintiff's Atty(s):                                                  Defendant's Atty(s):
   Keith M. Knowlton                                                     Anna G. Critz ( Maricopa County ; Paul Penzone ,
   Keith M. Knowlton L.L.C.                                              Maricopa County Sheriff; Marrero B4675, Officer;
   9920 S. Rural Road, Suite 108, PMB #132                               Cline B3662, Officer)
   Tempe, Arizona 85284                                                  Maricopa County Attorney's Office
   (480) 755-1777                                                        225 W. Madison St.
                                                                         Phoenix, Arizona 85003
                                                                         (602) 506-8541


                                                                         Maxine S. Mak ( Maricopa County ; Paul Penzone ,
                                                                         Maricopa County Sheriff; Marrero B4675, Officer;
                                                                         Cline B3662, Officer)
                                                                         Maricopa County Attorney's Office
                                                                         225 W. Madison St.
                                                                         Phoenix, Arizona 85003
                                                                         (602) 506-8541



  REMOVAL FROM MARICOPA COUNTY, CASE #CV2022-092740

  II. Basis of Jurisdiction:                    3. Federal Question (U.S. not a party)

  III. Citizenship of Principal
  Parties (Diversity Cases Only)
https://www.azd.uscourts.gov/cgi-bin/generate_civil_js44.pl                                                                                      1/2
                     Case 2:22-cv-01531-DJH--MHB        Document 1-3 Filed 09/12/22 Page 4 of 112
                                               https://www.azd.uscourts.gov/cgi-bin/generate_civil_js44.pl

                               Plaintiff:- N/A
                             Defendant:- N/A

  IV. Origin :                                  2. Removed From State Court

  V. Nature of Suit:                            440 Other Civil Rights

  VI.Cause of Action:                           42 U.S.C. 1983, 1st Amendment, 4th Amendment, 14th Amendment

  VII. Requested in Complaint
                      Class Action: No
                   Dollar Demand: unspecified
                     Jury Demand: Yes

  VIII. This case is not related to another case.

  Signature: Anna G. Critz

         Date: 09/12/2022

  If any of this information is incorrect, please go back to the Civil Cover Sheet Input form using the Back button in your browser
  and change it. Once correct, save this form as a PDF and include it as an attachment to your case opening documents.

  Revised: 01/2014




https://www.azd.uscourts.gov/cgi-bin/generate_civil_js44.pl                                                                           2/2
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                           EXHIBIT B
                       State Court Record
                            Attachments:
                            1. Supplemental Cover Sheet
                            2. Recent State Court Docket
                            3. Complaint
                            4. Service Documents
                            5. Remainder of the State Record
                            6. Verification of Anna G. Critz
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                          Attachment 1
                      Supplemental Cover Sheet
               Case 2:22-cv-01531-DJH--MHB Document 1-3 Filed 09/12/22 Page 7 of 112
                                SUPPLEMENTAL CIVIL COVER SHEET
                       FOR CASES REMOVED FROM ANOTHER JURISDICTION

                              This form must be attached to the Civil Cover Sheet at the time
                                the case is filed in the United States District Clerk's Office

                                         Additional sheets may be used as necessary.


1.       Style of the Case:
         Please include all Plaintiff(s), Defendant(s), Intervenor(s), Counterclaimant(s), Crossclaimant(s) and
         Third Party Claimant(s) still remaining in the case and indicate their party type. Also, please list the
         attorney(s) of record for each party named and include their bar number, firm name, correct mailing
         address, and phone number (including area code).

         Party                                            Party Type              Attorney(s)
        Marcos A. Magana                                  Plaintiff               Keith M. Knowlton (011565)
                                                                                  Keith M. Knowlton, L.L.C.
                                                                                  9920 S. Rural Road, Suite 109, PMB #132
                                                                                  Tempe, Arizona, 85284
                                                                                  (480) 755-1777




        Maricopa County                                   Defendants              Anna G. Critz (034530)
        Maricopa County Sheriff Paul Penzone                                      Maxine S. Mak (031158)
        Officer Cline B3662                                                       Maricopa County Attorney's Office
                                                                                  Civil Services Division
                                                                                  225 West Madison Street
                                                                                  Phoenix, Arizona 85003
                                                                                  (602) 506-8541
                                                                                  MCAO Firm No. 00032000

        Officer Marrero B4675, Spouse McKay, Spouse       Defendants
        Schneider, Spouse Hobbs, Spouse Marrero, Spouse
        Cline, John and Jane Does I-X, Entities I-X




2.       Jury Demand:
         Was a Jury Demand made in another jurisdiction?                    Yes              No
         If "Yes," by which party and on what date?
         Plaintiff
                                                                                                                            06/22/2022



3.       Answer:
         Was an Answer made in another jurisdiction?                  Yes              No
         If "Yes," by which party and on what date?




Supp CV Cover Sheet (rev 8/20/2015)
             Case 2:22-cv-01531-DJH--MHB Document 1-3 Filed 09/12/22 Page 8 of 112
4.       Served Parties:
         The following parties have been served at the time this case was removed:

         Party                                             Date Served               Method of Service
        Sheriff Paul Penzone                              08/22/22                   substitute


        Officer Cline B3662                               08/22/22                   substitute


        Maricopa County                                   08/22/22                   service on agent




5.       Unserved Parties:
         The following parties have not been served at the time this case was removed:

         Party                                                          Reason Not Served
        Officer Marrero B4675, Spouse McKay, Spouse Schneider, Spouse unidentified
        Hobbs, Spouse Marrero, Spouse Cline,

        John and Jane Does I-X, Entities I-X                           fictitious




6.       Nonsuited, Dismissed or Terminated Parties:
         Please indicate changes from the style of the papers from another jurisdiction and the reason for the
         change:

         Party                                                          Reason for Change
        N/A




7.       Claims of the Parties:
         The filing party submits the following summary of the remaining claims of each party in this litigation:

         Party                                                          Claims
        Plaintiff                                                      Count 1: Excessive Force under 42 U.S.C. 1983
                                                                       Count 2: Unconstitutional Custom, Policy, Practice under 42 U.S.C. 1983




Pursuant to 28 USC § 1446(a) a copy of all process, pleadings, and orders served in
another jurisdiction (State Court) shall be filed with this removal.


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                          Attachment 2
                      Recent State Court Docket
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                          Attachment 3
                              Complaint
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                                                               13 of
                                                                   ofthe
                                                                      112Superior Court
                                                                   *** Electronically Filed ***
                                                                        S. Allen, Deputy
                                                                     6/22/2022 3:38:24 PM
                                                                       Filing ID 14471532
 1   Keith M. Knowlton, Esq. - SBN 011565
     KEITH M. KNOWLTON, L.L.C.
 2   9920 S. Rural Road, Ste. 108
     PMB #132
 3   Tempe, Arizona 85284-4100
     Phone: (602) 692- 6083
 4   Fax: 480) 471-8956
     keithknowlton@msn.com
 5   Attorneys for Plaintiff
 6
 7
                IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
 8
 9                         IN AND FOR COUNTY OF MARICOPA

10
     Marcos A. Magana,                                CV2022-092740
11
12                         Plaintiff,
                                                             COMPLAINT
13   vs.
                                                      (JURY TRIAL DEMANDED)
14
     COUNTY OF MARICOPA, a body government
15   of the State of Arizona; PAUL PENZONE,
     elected Sheriff of Maricopa County;
16
     DETENTION OFFICER MARRERO
17   B4675 and SPOUSE MARRERO, husband
     and wife; DETENTION OFFICER CLINE
18   B3662 and SPOUSE CLINE, husband and
19   wife; JOHN DOES AND JANE DOES I-X and
     ENTITIES I-X,
20
                           Defendants.
21
22
23         Plaintiff Marcos A. Magana, as and for his Complaint against all Defendants

24   alleges as follows:
25                                          PARTIES
26         1.     Plaintiff, Marcos A. Magana (“Magana”), at all times relevant to this
27   Complaint, resided in the 4th Avenue Jail in the State of Arizona within the County
28   of Maricopa.



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 1         2.     Defendant Sheriff Paul Penzone, (referred to as “Penzone”) is the
 2   elected Sheriff of Maricopa County and the Chief Executive Officer of the
 3   Maricopa County Sheriff’s Office (“MCSO”).
 4         3.     Defendants DETENTION OFFICER MARRERO B4675 and
 5   DETENTION OFFICER CLINE B3662 (referred to collectively as “Corrections
 6   Officers”) are employees of MCSO.
 7         4.     Defendants SPOUSE MCKAY, SPOUSE SCHNEIDER, SPOUSE
 8   HOBBS, SPOUSE MARRERO AND SPOUSE CLINE are fictitiously named
 9
     Defendants whose true identity will be supplemented when known and upon
10
     information and belief are the spouses of the Correction Officer Defendants.
11
           5.     During all relevant times hereto, the Correction Officer Defendants
12
     and their Spouses were husband and wife and acted for, and to benefit their marital
13
     community.
14
           6.     The fictitiously named Defendants in the caption to the Complaint are
15
     individuals and entities who, on information and belief, committed acts or
16
     omissions or caused events to occur that resulted in injury or damage to Plaintiff.
17
     Once the identities of these Defendants are discovered, this Complaint shall be
18
     amended accordingly.
19
           7.     All named Defendants are interrelated, independent and are jointly
20
     and severally liable.
21
                                  JURISDICTION AND VENUE
22
           8.     Defendants and each of them caused events to occur in Maricopa
23
24   County out of which this Complaint arises or residents of Maricopa County.

25         9.     This action is bring brought pursuant to 42 U.S.C. §1983 to remedy

26   Defendants violation of Plaintiff’s constitutional rights under the First, Fourth, and
27   Fourteenth Amendments to the United States Constitution for excessive force
28   causing serious injury.



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 1         10.    Each and every Correction Officer Defendant aided and abetted each
 2   other and therefore are liable for the consequences of the others conduct.
 3                                     JURY DEMAND
 4
           11.    Plaintiff demands a trial by jury for all issues so triable.
 5
                                FACTUAL ALLEGATIONS
 6
           12.     Plaintiff incorporates all the preceding paragraph of this Complaint as
 7
     though fully set forth herein.
 8
           13.    On January 25,2021, Magana was outside his cell and refused to go
 9
     back to his cell to lock down until he had the opportunity to talk to a
10
11
     sergeant about a grievance.

12          14.   Magana stood still until correction officers arrived and the

13   sergeant that arrived told Magana to cuff up.

14         15.    Magana followed instruction to cuff up and did not resist in any way
15   being handcuffed by Marrero and Cline.
16         16.    Magana thought he was being taken to his cell but was stopped when
17   they reached his cell. There were over 10 officers present, which was a
18   large show of force and which made it difficult to see Magana on the video
19   of the incident.
20         17.    Apparently Sgt. Johnson B1352 changed his mind and directed
21   Magana to be taken to the safety room. As he was being moved under the stairs, at
22   the exact location where there is no clear video, Magana was forced face first to
23   the ground and then pulled back up.
24         18.    This caught Magana off guard and he could do nothing to protect
25   himself.
26         19.    Because the tooth went through his lip from Magana hitting his head
27   face first on the cement, he was bleeding and had a mouth full of blood.
28         20.    The Correction Officers stopped Magana and put a spit mask on


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 1   him.
 2          21.     Magana was not spitting at officers but the blood was obvious and the
 3   officers did not want it on them.
 4          22. Corrections Officers Gomez-Arroyo B3829, Sgt. Durham A7461,
 5   Gomez B3829 and other unknown correction officers were present, witnessed what
 6   had occurred and did nothing to stop what occurred or to hold Marrero and Cline
 7   accountable.
 8          23.     Magana believed he was slammed face first to the ground because of
 9
     his conversation with Marrero as they were walking.
10
            24.     Magana had learned from other inmates that Marrero was telling
11
     inmates that Magana was as sex offender.
12
            25.     This could be potentially dangerous for Magana.
13
            26.     Magana was telling Marrero to stop that conduct and that he was
14
     going to grieve that conduct.
15
            27.     The bottom line is the matter is on video. Magana at no point does
16
     anything to justify being thrown face first to the ground.
17
            28.     In the video you can see Magana at the bottom of the stairs and then
18
     as he is approaching the next door after the stairs you see what appears by Magana
19
     being forced down to the ground then back up.
20
            29.     At the next camera you see Magana getting a spit mask put on and
21
     then taken to the safety room. .
22
            30.     Pursuant to MCSO policy CP-1, Procedures 4 (B), Detention Officers
23
24   ("DOS") "shall" only use the amount of force that is objectively reasonable

25   and necessary to address the situation.

26          31.     The force used here was not reasonable or necessary as Magana was
27   handcuffed with his hands behind his back and was not in any way resisting being
28   moved.



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 1         32.    That is clear on the video of this incident.
 2         33.    After being placed in the safety cell, medical came and checked on
 3   Magana.
 4         34.    Magana was seen by RN Pearsal 2324H.
 5         35.    Magana’s injuries were severe enough to require him to be sent to the
 6   hospital at Banner Health by ambulance to receive stitches to his lip.
 7
 8                                        COUNT ONE
 9                                        42 U.S.C. § 1983
                                          Excessive Force
10
11         36.    The allegations set forth above are fully incorporated herein by this
12   reference.
13         37.    In committing the above referenced actions and/or omissions, the
14   Correction Officer Defendants, and each of them, acted under color of state law,
15   and engaged in conduct that was the proximate cause of a violation of Plaintiff’s
16   rights under the Fourth and Fourteenth Amendments to the Constitution of the
17   United States of America, including but not limited to his right to be free from the
18
     use of excessive force by Correction Officers in seizing, detaining, handcuffing ,
19
     moving and then forcing Plaintiff with his hands cuffed behind his back face first
20
     to the cement floor of the cell blook, causing Plaintiff’s front teeth to go through
21
     his lip resulting in bleeding and the need for stitches to close the wound, the injury
22
     and would directly resulted from the use of excessive force by the Correction
23
     Officer Defendants.
24
           38.    The force used by the Police Officer Defendants in taking Richard
25
     into custody was not reasonable or justified under the circumstances.
26
           39.    An objective reasonable Corrections Officer under the same
27
     circumstances would not have used the force that was used by Correction Officer
28



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 1   Defendants forcing Plaintiff face first on the ground with his hands cuffed behind
 2   his back.
 3            40.   As a result of the Correction Officer Defendants actions alleged
 4   above, and in violation of Plaintiff’s rights under Federal, Plaintiff suffered injuries
 5   and endured mental and emotional distress all in an amount to be determined at
 6   trial.
 7            41.   Plaintiff is entitled to bring this cause of action against the Defendants
 8   pursuant to 42 U.S.C. § 1983.
 9
              42.   Plaintiff is entitled to recover his attorneys’ fees incurred in this
10
     matter pursuant to 42 U.S.C. § 1988(b).
11
              43.   Plaintiff is entitled to Punitive Damages.
12
                                         COUNT TWO
13                                      42 U.S.C. §1983
14                         (Unconstitutional Custom, Policy, Practice
                                Procedure and/or Ratification)
15
16            44.   Plaintiff incorporates herein all the preceding numbered paragraphs.
17            45.   Defendant Penzone was at all relevant times the chief executive
18   officer of MCSO.
19            46.   Pursuant to MCSO policy CP-1, Procedures 4 (B), Detention Officers
20   "shall" only use the amount of force that is objectively reasonable and necessary to
21   address the situation.
22            47.   The force used here was not reasonable or necessary as Magana was
23   handcuffed with his hands behind his back and was not in any way resisting being
24   moved.
25            48.   The CORRECTIONS OFFICER DEFENDANTS violated the policy
26   by forcing Plaintiff face first down to the ground with his hands cuffed behind his
27   back and by not reporting this conduct to command. .
28



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 1         49.    As the Sheriff, Defendant Penzone has a non-delegable duty to ensure
 2   the policies of the Sheriff’s Office are followed by Correction’s Officers and that
 3   the force used is minimal as necessary to safely move inmates who have their
 4   hands cuffed behind their backs.
 5         50.    Defendant Penzone received Plaintiff’s Notice of Claim. Further
 6   supervisors received the Incident Reports and had the video of the event.
 7         51.    Plaintiff grieved the incident and the grievance was fully complied
 8   with the grievance process.
 9
           52.    Defendant Penzone and his appointed supervisors took no action
10
     against the Correction Officer Defendants for Plaintiff being forced to the found
11
     face first while his hands were cuffed behind his back.
12
           53.    Defendant Penzone ratified the conduct of the Correction Officer
13
     Defendants by taking no disciplinary action against the Correctional Officer
14
     Defendants and/or the supervisors involved.
15
           54.    By ratifying the Correction Officer Defendants conduct and/or taking
16
     no disciplinary action against them, Defendant Penzone has created a practice and
17
     procedure that Corrections Officers can use objectively unreasonable force with
18
     impunity.
19
           55.    This practice and procedure of impunity for using excessive force on a
20
     hand cuffed inmate was the proximate cause of what happened in this case.
21
           56.    Pursuant to 42 U.S.C. §§ 1983 and 1988, Plaintiff is entitled to
22
     attorney’s fees and punitive damages from Williams based on the above.
23
24         57.    Plaintiff is entitled to punitive damages.

25
26
27
28



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 1           WHEREFORE, Plaintiff, having fully pled his claims against Defendants,
 2
     respectfully requests that this Court enter Judgment in favor of Plaintiff and against
 3
 4   these Defendants, individually, jointly and severally, and against their respective
 5
     marital communities, if any, as follows:
 6
 7
           1.     Awarding Plaintiff all allowable actual damages resulting from

 8   Defendants’ unlawful acts and omissions;
 9
           2.     Awarding punitive and exemplary damages in an amount sufficient to
10
11   deter these Defendants or other similarly situated from engaging in the
12
     aforementioned conduct.
13
14         3.     For compensatory damages, including but not limited to emotional
15   distress, all in an amount to be determined at the time of trial;
16
           4.     For attorneys’ fees and costs;
17
18         5.     And to grant such other and further relief as the Court feels is just
19
     under the circumstances.
20
21         RESPECTFULLY SUBMITTED this 22nd day of June, 2022.
22                                           KEITH M. KNOWLTON, L.L.C.
23
24
25                                            By: /s/ Keith Knowlton
26                                              Keith M. Knowlton (SBN: 001565)
27
28



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                          Attachment 4
                          Service Documents
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                                     Person/Attorney Filing: Keith M Knowlton                                        Filing ID 14471538
                                     Mailing Address: 9920 S. Rural Road, Ste. 108 Pmb# 132
                                     City, State, Zip Code: Tempe, AZ 85284
                                     Phone Number: (480)755-1777
                                     E-Mail Address: keithknowlton@msn.com
                                     [ ] Representing Self, Without an Attorney
                                     (If Attorney) State Bar Number: 011565, Issuing State: AZ

                                                      IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
                                                            IN AND FOR THE COUNTY OF MARICOPA

                                      Marcos A. Magana
                                      Plaintiff(s),                                          Case No. CV2022-092740
                                      v.
                                      County of Maricopa, et al.                             SUMMONS
                                      Defendant(s).

                                     To: Spouse Marrero

                                      WARNING: THIS AN OFFICIAL DOCUMENT FROM THE COURT THAT
                                      AFFECTS YOUR RIGHTS. READ THIS SUMMONS CAREFULLY. IF YOU DO
                                      NOT UNDERSTAND IT, CONTACT AN ATTORNEY FOR LEGAL ADVICE.

                                      1. A lawsuit has been filed against you. A copy of the lawsuit and other court papers were
                                         served on you with this Summons.

                                      2. If you do not want a judgment taken against you without your input, you must file an
                                         Answer in writing with the Court, and you must pay the required filing fee. To file your
                                         Answer, take or send the papers to Clerk of the Superior Court, 201 W. Jefferson,
                                         Phoenix, Arizona 85003 or electronically file your Answer through one of Arizona's
                                         approved electronic filing systems at http://www.azcourts.gov/efilinginformation.
                                         Mail a copy of the Answer to the other party, the Plaintiff, at the address listed on the top
                                         of this Summons.
                                         Note: If you do not file electronically you will not have electronic access to the documents
                                         in this case.

                                      3. If this Summons and the other court papers were served on you within the State of
                                         Arizona, your Answer must be filed within TWENTY (20) CALENDAR DAYS from the
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                                         were served on you outside the State of Arizona, your Answer must be filed within
                                         THIRTY (30) CALENDAR DAYS from the date of service, not counting the day of
                                         service.
                                          Case 2:22-cv-01531-DJH--MHB Document 1-3 Filed 09/12/22 Page 68 of 112




                                             Requests for reasonable accommodation for persons with disabilities must be made to
                                      the court by parties at least 3 working days in advance of a scheduled court proceeding.

                                             GIVEN under my hand and the Seal of the Superior Court of the State of Arizona in
                                      and for the County of MARICOPA




                                     SIGNED AND SEALED this Date: June 22, 2022

                                     JEFF FINE
                                     Clerk of Superior Court

                                     By: SENA ALLEN
                                     Deputy Clerk



                                     Requests for an interpreter for persons with limited English proficiency must be made to the division assigned to
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                          Attachment 5
                 Remainder of the State Court Record
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 1   Keith M. Knowlton, Esq. - SBN 011565
     KEITH M. KNOWLTON, L.L.C.
 2   9920 S. Rural Road, Ste. 108
     PMB #132
 3   Tempe, Arizona 85284-4100
     Phone: (602) 692- 6083
 4   Fax: 480) 471-8956
     keithknowlton@msn.com
 5   Attorneys for Plaintiff
 6
 7
                IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
 8
 9                         IN AND FOR COUNTY OF MARICOPA

10
     Marcos A. Magana,                                CV2022-092740
11
12                         Plaintiff,
                                                             COMPLAINT
13   vs.
                                                      (JURY TRIAL DEMANDED)
14
     COUNTY OF MARICOPA, a body government
15   of the State of Arizona; PAUL PENZONE,
     elected Sheriff of Maricopa County;
16
     DETENTION OFFICER MARRERO
17   B4675 and SPOUSE MARRERO, husband
     and wife; DETENTION OFFICER CLINE
18   B3662 and SPOUSE CLINE, husband and
19   wife; JOHN DOES AND JANE DOES I-X and
     ENTITIES I-X,
20
                           Defendants.
21
22
23         Plaintiff Marcos A. Magana, as and for his Complaint against all Defendants

24   alleges as follows:
25                                          PARTIES
26         1.     Plaintiff, Marcos A. Magana (“Magana”), at all times relevant to this
27   Complaint, resided in the 4th Avenue Jail in the State of Arizona within the County
28   of Maricopa.



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 1         2.     Defendant Sheriff Paul Penzone, (referred to as “Penzone”) is the
 2   elected Sheriff of Maricopa County and the Chief Executive Officer of the
 3   Maricopa County Sheriff’s Office (“MCSO”).
 4         3.     Defendants DETENTION OFFICER MARRERO B4675 and
 5   DETENTION OFFICER CLINE B3662 (referred to collectively as “Corrections
 6   Officers”) are employees of MCSO.
 7         4.     Defendants SPOUSE MCKAY, SPOUSE SCHNEIDER, SPOUSE
 8   HOBBS, SPOUSE MARRERO AND SPOUSE CLINE are fictitiously named
 9
     Defendants whose true identity will be supplemented when known and upon
10
     information and belief are the spouses of the Correction Officer Defendants.
11
           5.     During all relevant times hereto, the Correction Officer Defendants
12
     and their Spouses were husband and wife and acted for, and to benefit their marital
13
     community.
14
           6.     The fictitiously named Defendants in the caption to the Complaint are
15
     individuals and entities who, on information and belief, committed acts or
16
     omissions or caused events to occur that resulted in injury or damage to Plaintiff.
17
     Once the identities of these Defendants are discovered, this Complaint shall be
18
     amended accordingly.
19
           7.     All named Defendants are interrelated, independent and are jointly
20
     and severally liable.
21
                                  JURISDICTION AND VENUE
22
           8.     Defendants and each of them caused events to occur in Maricopa
23
24   County out of which this Complaint arises or residents of Maricopa County.

25         9.     This action is bring brought pursuant to 42 U.S.C. §1983 to remedy

26   Defendants violation of Plaintiff’s constitutional rights under the First, Fourth, and
27   Fourteenth Amendments to the United States Constitution for excessive force
28   causing serious injury.



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 1         10.    Each and every Correction Officer Defendant aided and abetted each
 2   other and therefore are liable for the consequences of the others conduct.
 3                                     JURY DEMAND
 4
           11.    Plaintiff demands a trial by jury for all issues so triable.
 5
                                FACTUAL ALLEGATIONS
 6
           12.     Plaintiff incorporates all the preceding paragraph of this Complaint as
 7
     though fully set forth herein.
 8
           13.    On January 25,2021, Magana was outside his cell and refused to go
 9
     back to his cell to lock down until he had the opportunity to talk to a
10
11
     sergeant about a grievance.

12          14.   Magana stood still until correction officers arrived and the

13   sergeant that arrived told Magana to cuff up.

14         15.    Magana followed instruction to cuff up and did not resist in any way
15   being handcuffed by Marrero and Cline.
16         16.    Magana thought he was being taken to his cell but was stopped when
17   they reached his cell. There were over 10 officers present, which was a
18   large show of force and which made it difficult to see Magana on the video
19   of the incident.
20         17.    Apparently Sgt. Johnson B1352 changed his mind and directed
21   Magana to be taken to the safety room. As he was being moved under the stairs, at
22   the exact location where there is no clear video, Magana was forced face first to
23   the ground and then pulled back up.
24         18.    This caught Magana off guard and he could do nothing to protect
25   himself.
26         19.    Because the tooth went through his lip from Magana hitting his head
27   face first on the cement, he was bleeding and had a mouth full of blood.
28         20.    The Correction Officers stopped Magana and put a spit mask on


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 1   him.
 2          21.     Magana was not spitting at officers but the blood was obvious and the
 3   officers did not want it on them.
 4          22. Corrections Officers Gomez-Arroyo B3829, Sgt. Durham A7461,
 5   Gomez B3829 and other unknown correction officers were present, witnessed what
 6   had occurred and did nothing to stop what occurred or to hold Marrero and Cline
 7   accountable.
 8          23.     Magana believed he was slammed face first to the ground because of
 9
     his conversation with Marrero as they were walking.
10
            24.     Magana had learned from other inmates that Marrero was telling
11
     inmates that Magana was as sex offender.
12
            25.     This could be potentially dangerous for Magana.
13
            26.     Magana was telling Marrero to stop that conduct and that he was
14
     going to grieve that conduct.
15
            27.     The bottom line is the matter is on video. Magana at no point does
16
     anything to justify being thrown face first to the ground.
17
            28.     In the video you can see Magana at the bottom of the stairs and then
18
     as he is approaching the next door after the stairs you see what appears by Magana
19
     being forced down to the ground then back up.
20
            29.     At the next camera you see Magana getting a spit mask put on and
21
     then taken to the safety room. .
22
            30.     Pursuant to MCSO policy CP-1, Procedures 4 (B), Detention Officers
23
24   ("DOS") "shall" only use the amount of force that is objectively reasonable

25   and necessary to address the situation.

26          31.     The force used here was not reasonable or necessary as Magana was
27   handcuffed with his hands behind his back and was not in any way resisting being
28   moved.



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 1         32.    That is clear on the video of this incident.
 2         33.    After being placed in the safety cell, medical came and checked on
 3   Magana.
 4         34.    Magana was seen by RN Pearsal 2324H.
 5         35.    Magana’s injuries were severe enough to require him to be sent to the
 6   hospital at Banner Health by ambulance to receive stitches to his lip.
 7
 8                                        COUNT ONE
 9                                        42 U.S.C. § 1983
                                          Excessive Force
10
11         36.    The allegations set forth above are fully incorporated herein by this
12   reference.
13         37.    In committing the above referenced actions and/or omissions, the
14   Correction Officer Defendants, and each of them, acted under color of state law,
15   and engaged in conduct that was the proximate cause of a violation of Plaintiff’s
16   rights under the Fourth and Fourteenth Amendments to the Constitution of the
17   United States of America, including but not limited to his right to be free from the
18
     use of excessive force by Correction Officers in seizing, detaining, handcuffing ,
19
     moving and then forcing Plaintiff with his hands cuffed behind his back face first
20
     to the cement floor of the cell blook, causing Plaintiff’s front teeth to go through
21
     his lip resulting in bleeding and the need for stitches to close the wound, the injury
22
     and would directly resulted from the use of excessive force by the Correction
23
     Officer Defendants.
24
           38.    The force used by the Police Officer Defendants in taking Richard
25
     into custody was not reasonable or justified under the circumstances.
26
           39.    An objective reasonable Corrections Officer under the same
27
     circumstances would not have used the force that was used by Correction Officer
28



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 1   Defendants forcing Plaintiff face first on the ground with his hands cuffed behind
 2   his back.
 3            40.   As a result of the Correction Officer Defendants actions alleged
 4   above, and in violation of Plaintiff’s rights under Federal, Plaintiff suffered injuries
 5   and endured mental and emotional distress all in an amount to be determined at
 6   trial.
 7            41.   Plaintiff is entitled to bring this cause of action against the Defendants
 8   pursuant to 42 U.S.C. § 1983.
 9
              42.   Plaintiff is entitled to recover his attorneys’ fees incurred in this
10
     matter pursuant to 42 U.S.C. § 1988(b).
11
              43.   Plaintiff is entitled to Punitive Damages.
12
                                         COUNT TWO
13                                      42 U.S.C. §1983
14                         (Unconstitutional Custom, Policy, Practice
                                Procedure and/or Ratification)
15
16            44.   Plaintiff incorporates herein all the preceding numbered paragraphs.
17            45.   Defendant Penzone was at all relevant times the chief executive
18   officer of MCSO.
19            46.   Pursuant to MCSO policy CP-1, Procedures 4 (B), Detention Officers
20   "shall" only use the amount of force that is objectively reasonable and necessary to
21   address the situation.
22            47.   The force used here was not reasonable or necessary as Magana was
23   handcuffed with his hands behind his back and was not in any way resisting being
24   moved.
25            48.   The CORRECTIONS OFFICER DEFENDANTS violated the policy
26   by forcing Plaintiff face first down to the ground with his hands cuffed behind his
27   back and by not reporting this conduct to command. .
28



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 1         49.    As the Sheriff, Defendant Penzone has a non-delegable duty to ensure
 2   the policies of the Sheriff’s Office are followed by Correction’s Officers and that
 3   the force used is minimal as necessary to safely move inmates who have their
 4   hands cuffed behind their backs.
 5         50.    Defendant Penzone received Plaintiff’s Notice of Claim. Further
 6   supervisors received the Incident Reports and had the video of the event.
 7         51.    Plaintiff grieved the incident and the grievance was fully complied
 8   with the grievance process.
 9
           52.    Defendant Penzone and his appointed supervisors took no action
10
     against the Correction Officer Defendants for Plaintiff being forced to the found
11
     face first while his hands were cuffed behind his back.
12
           53.    Defendant Penzone ratified the conduct of the Correction Officer
13
     Defendants by taking no disciplinary action against the Correctional Officer
14
     Defendants and/or the supervisors involved.
15
           54.    By ratifying the Correction Officer Defendants conduct and/or taking
16
     no disciplinary action against them, Defendant Penzone has created a practice and
17
     procedure that Corrections Officers can use objectively unreasonable force with
18
     impunity.
19
           55.    This practice and procedure of impunity for using excessive force on a
20
     hand cuffed inmate was the proximate cause of what happened in this case.
21
           56.    Pursuant to 42 U.S.C. §§ 1983 and 1988, Plaintiff is entitled to
22
     attorney’s fees and punitive damages from Williams based on the above.
23
24         57.    Plaintiff is entitled to punitive damages.

25
26
27
28



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 1           WHEREFORE, Plaintiff, having fully pled his claims against Defendants,
 2
     respectfully requests that this Court enter Judgment in favor of Plaintiff and against
 3
 4   these Defendants, individually, jointly and severally, and against their respective
 5
     marital communities, if any, as follows:
 6
 7
           1.     Awarding Plaintiff all allowable actual damages resulting from

 8   Defendants’ unlawful acts and omissions;
 9
           2.     Awarding punitive and exemplary damages in an amount sufficient to
10
11   deter these Defendants or other similarly situated from engaging in the
12
     aforementioned conduct.
13
14         3.     For compensatory damages, including but not limited to emotional
15   distress, all in an amount to be determined at the time of trial;
16
           4.     For attorneys’ fees and costs;
17
18         5.     And to grant such other and further relief as the Court feels is just
19
     under the circumstances.
20
21         RESPECTFULLY SUBMITTED this 22nd day of June, 2022.
22                                           KEITH M. KNOWLTON, L.L.C.
23
24
25                                            By: /s/ Keith Knowlton
26                                              Keith M. Knowlton (SBN: 001565)
27
28



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                                            Case 2:22-cv-01531-DJH--MHB Document 1-3 Filed 09/12/22 Page 78 of 112



                                                                                                  Clerk of the Superior Court
                                     In the Superior Court of the State of Arizona                *** Electronically Filed ***
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                                     In and For the County of Maricopa                              6/22/2022 3:38:24 PM
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                                     Plaintiff's Attorney:
                                     Keith M Knowlton
                                     Bar Number: 011565, issuing State: AZ
                                     Law Firm: Keith M. Knowlton, LLC
                                     9920 S. Rural Road, Ste. 108 Pmb# 132                       CV2022-092740
                                     Tempe, AZ 85284
                                     Telephone Number: (480)755-1777
                                     Email address: keithknowlton@msn.com

                                     Plaintiff:
                                     Marcos A. Magana
                                     PO Box 3300 ASPC Buckley Unit
                                     Buckeye, AZ 85326

                                     Defendants:
                                     County of Maricopa
                                     301 W. Jefferson St. Ste 10
                                     Phoenix, AZ 85003

                                     Paul Penzone
                                     MCSO Legal Liaison 550 Wesst Jackson Street
                                     Phoenix, AZ 85003
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                                     Detention Offic Marrero B4675
                                     MCSO Legal Liaison 550 Wesst Jackson Street
                                     Phoenix, AZ 85003

                                     Spouse Marrero
                                     MCSO Legal Liaison 550 Wesst Jackson Street
                                     Phoenix, AZ 85003

                                     Detention Offic Cline B3662
                                     MCSO Legal Liaison 550 Wesst Jackson Street
                                     Phoenix, AZ 85003

                                     Spouse Cline
                                     MCSO Legal Liaison 550 Wesst Jackson Street
                                     Phoenix, AZ 85003

                                                                             Civil Cover Sheet
                                                                                Page 1 of 2
                                            Case 2:22-cv-01531-DJH--MHB Document 1-3 Filed 09/12/22 Page 79 of 112




                                     Discovery Tier t3

                                     Case Category: Other Civil Case Categories
                                     Case Subcategory: 42 U.S.C. Sect. 1983
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                                     E-Mail Address: keithknowlton@msn.com
                                     [ ☐ ] Representing Self, Without an Attorney
                                     (If Attorney) State Bar Number: 011565, Issuing State: AZ


                                                         IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
                                                                       IN AND FOR THE COUNTY OF MARICOPA

                                     Marcos A. Magana
                                     Plaintiff(s),                                          Case No. CV2022-092740
                                     v.
                                     County of Maricopa, et al.                             CERTIFICATE OF
                                     Defendant(s).                                          COMPULSORY ARBITRATION

                                     I certify that I am aware of the dollar limits and any other limitations set forth by the
                                     Local Rules of Practice for the Maricopa County Superior Court, and I further certify that
                                     this case IS NOT subject to compulsory arbitration, as provided by Rules 72 through 77 of
                                     the Arizona Rules of Civil Procedure.


                                     RESPECTFULLY SUBMITTED this


                                                                       By: Keith M Knowlton /s/
                                                                            Plaintiff/Attorney for Plaintiff
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                                     Mailing Address: 9920 S. Rural Road, Ste. 108 Pmb# 132
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                                                      IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
                                                            IN AND FOR THE COUNTY OF MARICOPA

                                      Marcos A. Magana
                                      Plaintiff(s),                                          Case No. CV2022-092740
                                      v.
                                      County of Maricopa, et al.                             SUMMONS
                                      Defendant(s).

                                     To: County of Maricopa

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                                          Case 2:22-cv-01531-DJH--MHB Document 1-3 Filed 09/12/22 Page 82 of 112




                                             Requests for reasonable accommodation for persons with disabilities must be made to
                                      the court by parties at least 3 working days in advance of a scheduled court proceeding.

                                             GIVEN under my hand and the Seal of the Superior Court of the State of Arizona in
                                      and for the County of MARICOPA




                                     SIGNED AND SEALED this Date: June 22, 2022

                                     JEFF FINE
                                     Clerk of Superior Court

                                     By: SENA ALLEN
                                     Deputy Clerk



                                     Requests for an interpreter for persons with limited English proficiency must be made to the division assigned to
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                                     County Bar Association.
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                                        Case 2:22-cv-01531-DJH--MHB Document 1-3 Filed 09/12/22 PageClerk
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                                                      IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
                                                            IN AND FOR THE COUNTY OF MARICOPA

                                      Marcos A. Magana
                                      Plaintiff(s),                                          Case No. CV2022-092740
                                      v.
                                      County of Maricopa, et al.                             SUMMONS
                                      Defendant(s).

                                     To: Paul Penzone

                                      WARNING: THIS AN OFFICIAL DOCUMENT FROM THE COURT THAT
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                                         date of service, not counting the day of service. If this Summons and the other court papers
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                                         were served on you outside the State of Arizona, your Answer must be filed within
                                         THIRTY (30) CALENDAR DAYS from the date of service, not counting the day of
                                         service.
                                          Case 2:22-cv-01531-DJH--MHB Document 1-3 Filed 09/12/22 Page 84 of 112




                                             Requests for reasonable accommodation for persons with disabilities must be made to
                                      the court by parties at least 3 working days in advance of a scheduled court proceeding.

                                             GIVEN under my hand and the Seal of the Superior Court of the State of Arizona in
                                      and for the County of MARICOPA




                                     SIGNED AND SEALED this Date: June 22, 2022

                                     JEFF FINE
                                     Clerk of Superior Court

                                     By: SENA ALLEN
                                     Deputy Clerk



                                     Requests for an interpreter for persons with limited English proficiency must be made to the division assigned to
                                     the case by the party needing the interpreter and/or translator or his/her counsel at least ten (10) judicial days in
                                     advance of a scheduled court proceeding.
                                     If you would like legal advice from a lawyer, contact Lawyer Referral Service at 602-257-4434 or https://maricopabar.org. Sponsored by the Maricopa
                                     County Bar Association.
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                                                                                                                   6/22/2022 3:38:24 PM
                                     Person/Attorney Filing: Keith M Knowlton                                        Filing ID 14471537
                                     Mailing Address: 9920 S. Rural Road, Ste. 108 Pmb# 132
                                     City, State, Zip Code: Tempe, AZ 85284
                                     Phone Number: (480)755-1777
                                     E-Mail Address: keithknowlton@msn.com
                                     [ ] Representing Self, Without an Attorney
                                     (If Attorney) State Bar Number: 011565, Issuing State: AZ

                                                      IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
                                                            IN AND FOR THE COUNTY OF MARICOPA

                                      Marcos A. Magana
                                      Plaintiff(s),                                          Case No. CV2022-092740
                                      v.
                                      County of Maricopa, et al.                             SUMMONS
                                      Defendant(s).

                                     To: Detention Offic Marrero B4675

                                      WARNING: THIS AN OFFICIAL DOCUMENT FROM THE COURT THAT
                                      AFFECTS YOUR RIGHTS. READ THIS SUMMONS CAREFULLY. IF YOU DO
                                      NOT UNDERSTAND IT, CONTACT AN ATTORNEY FOR LEGAL ADVICE.

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                                         served on you with this Summons.

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                                         service.
                                          Case 2:22-cv-01531-DJH--MHB Document 1-3 Filed 09/12/22 Page 86 of 112




                                             Requests for reasonable accommodation for persons with disabilities must be made to
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                                             GIVEN under my hand and the Seal of the Superior Court of the State of Arizona in
                                      and for the County of MARICOPA




                                     SIGNED AND SEALED this Date: June 22, 2022

                                     JEFF FINE
                                     Clerk of Superior Court

                                     By: SENA ALLEN
                                     Deputy Clerk



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AZturboCourt.gov Form Set #6934258




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                                     Person/Attorney Filing: Keith M Knowlton                                        Filing ID 14471538
                                     Mailing Address: 9920 S. Rural Road, Ste. 108 Pmb# 132
                                     City, State, Zip Code: Tempe, AZ 85284
                                     Phone Number: (480)755-1777
                                     E-Mail Address: keithknowlton@msn.com
                                     [ ] Representing Self, Without an Attorney
                                     (If Attorney) State Bar Number: 011565, Issuing State: AZ

                                                      IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
                                                            IN AND FOR THE COUNTY OF MARICOPA

                                      Marcos A. Magana
                                      Plaintiff(s),                                          Case No. CV2022-092740
                                      v.
                                      County of Maricopa, et al.                             SUMMONS
                                      Defendant(s).

                                     To: Spouse Marrero

                                      WARNING: THIS AN OFFICIAL DOCUMENT FROM THE COURT THAT
                                      AFFECTS YOUR RIGHTS. READ THIS SUMMONS CAREFULLY. IF YOU DO
                                      NOT UNDERSTAND IT, CONTACT AN ATTORNEY FOR LEGAL ADVICE.

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                                         Answer, take or send the papers to Clerk of the Superior Court, 201 W. Jefferson,
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                                          Case 2:22-cv-01531-DJH--MHB Document 1-3 Filed 09/12/22 Page 88 of 112




                                             Requests for reasonable accommodation for persons with disabilities must be made to
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                                             GIVEN under my hand and the Seal of the Superior Court of the State of Arizona in
                                      and for the County of MARICOPA




                                     SIGNED AND SEALED this Date: June 22, 2022

                                     JEFF FINE
                                     Clerk of Superior Court

                                     By: SENA ALLEN
                                     Deputy Clerk



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                                                                                                                   6/22/2022 3:38:24 PM
                                     Person/Attorney Filing: Keith M Knowlton                                        Filing ID 14471539
                                     Mailing Address: 9920 S. Rural Road, Ste. 108 Pmb# 132
                                     City, State, Zip Code: Tempe, AZ 85284
                                     Phone Number: (480)755-1777
                                     E-Mail Address: keithknowlton@msn.com
                                     [ ] Representing Self, Without an Attorney
                                     (If Attorney) State Bar Number: 011565, Issuing State: AZ

                                                      IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
                                                            IN AND FOR THE COUNTY OF MARICOPA

                                      Marcos A. Magana
                                      Plaintiff(s),                                          Case No. CV2022-092740
                                      v.
                                      County of Maricopa, et al.                             SUMMONS
                                      Defendant(s).

                                     To: Detention Offic Cline B3662

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                                          Case 2:22-cv-01531-DJH--MHB Document 1-3 Filed 09/12/22 Page 90 of 112




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                                     SIGNED AND SEALED this Date: June 22, 2022

                                     JEFF FINE
                                     Clerk of Superior Court

                                     By: SENA ALLEN
                                     Deputy Clerk



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                                     Person/Attorney Filing: Keith M Knowlton                                        Filing ID 14471540
                                     Mailing Address: 9920 S. Rural Road, Ste. 108 Pmb# 132
                                     City, State, Zip Code: Tempe, AZ 85284
                                     Phone Number: (480)755-1777
                                     E-Mail Address: keithknowlton@msn.com
                                     [ ] Representing Self, Without an Attorney
                                     (If Attorney) State Bar Number: 011565, Issuing State: AZ

                                                      IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
                                                            IN AND FOR THE COUNTY OF MARICOPA

                                      Marcos A. Magana
                                      Plaintiff(s),                                          Case No. CV2022-092740
                                      v.
                                      County of Maricopa, et al.                             SUMMONS
                                      Defendant(s).

                                     To: Spouse Cline

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                                         service.
                                          Case 2:22-cv-01531-DJH--MHB Document 1-3 Filed 09/12/22 Page 92 of 112




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                                             GIVEN under my hand and the Seal of the Superior Court of the State of Arizona in
                                      and for the County of MARICOPA




                                     SIGNED AND SEALED this Date: June 22, 2022

                                     JEFF FINE
                                     Clerk of Superior Court

                                     By: SENA ALLEN
                                     Deputy Clerk



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Case 2:22-cv-01531-DJH--MHB Document 1-3 Filed 09/12/22 Page 93 of 112
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Case 2:22-cv-01531-DJH--MHB Document 1-3 Filed 09/12/22 Page 102 of 112




                           Attachment 6
                    Verification of DCA Anna G. Critz
     Case 2:22-cv-01531-DJH--MHB Document 1-3 Filed 09/12/22 Page 103 of 112



1                             VERIFICATION OF ANNA G. CRITZ
2

3      STATE OF ARIZONA)

4                              )ss.
5
       County of Maricopa     )
6

7            I, Anna G. Critz, declare under penalty of perjury that I am a Deputy County
8
       Attorney with the Maricopa County Attorney’s Office, Civil Services Division and that the
9
       attached documents are true and complete copies of all pleadings and other documents filed
10

11     in the state court proceeding Marcos A. Magana v. County of Maricopa, et al., Maricopa
12     County Superior Court Case No. CV2022-092740.
13

14
                                         DATED this 12th day of September, 2022.
15

16                                       RACHEL H. MITCHELL
                                         MARICOPA COUNTY ATTORNEY
17

18
                                         BY: /s/ Anna G. Critz
19                                            ANNA G. CRITZ
                                              Deputy County Attorney
20
21

22

23

24

25

26
27

28


                                                   1
Case 2:22-cv-01531-DJH--MHB Document 1-3 Filed 09/12/22 Page 104 of 112




                              EXHIBIT C
      Superior Court Notice of Removal to the Federal District Court
     Case 2:22-cv-01531-DJH--MHB Document 1-3 Filed 09/12/22 Page 105 of 112




 1     RACHEL H. MITCHELL
       MARICOPA COUNTY ATTORNEY
 2
 3     By:   ANNA CRITZ (034530)
             MAXINE S. MAK (031158)
 4
             critza@mcao.maricopa.gov
 5           Deputy County Attorneys
             MCAO Firm No. 00032000
 6
 7     CIVIL SERVICES DIVISION
       225 West Madison Street
 8
       Phoenix, Arizona 85003
 9     Telephone (602) 506-8541
       Fax (602) 506-4316
10
       ca-civilmailbox@mcao.maricopa.gov
11
       Attorneys for Maricopa County, Paul Penzone,
12
       and Det. Officer Cline
13
                 IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
14
                         IN AND FOR THE COUNTY OF MARICOPA
15
16
        Marcos A. Magana,                            No. CV2022-092740
17
18                      Plaintiff,

19      v.                                           NOTICE OF FILING NOTICE OF
                                                     REMOVAL
20      County of Maricopa, a body government
21      of the State of Arizona; Paul Penzone,
        elected Sheriff of Maricopa County;          (Honorable Stephen Hopkins)
22      Detention Officer Marrero B4675 and
23      Spouse Marrero, husband and wife;
        Detention Officer Cline
24      B3662 and Spouse Cline, husband and
25      wife; John Does and Jane Does I-X and
        Entities I-X,
26                        Defendants.
27
28
             TO THE CLERK OF THE COURT AND PLAINTIFF:


                                                 1
     Case 2:22-cv-01531-DJH--MHB Document 1-3 Filed 09/12/22 Page 106 of 112




 1            PLEASE TAKE NOTICE THAT Defendants Maricopa County, Sheriff Penzone,
 2
       and Officer Cline (“Defendants”), through undersigned counsel, hereby notify this Court
 3
       that they are filing/have filed a Notice of Removal of this action to the United States District
 4
 5     Court for the District of Arizona.
 6
              A copy of the Notice of Removal without attachments filed today, September 12,
 7
       2022, is attached hereto as Exhibit A.
 8
 9
10
              RESPECTFULLY SUBMITTED on this 12th day of September, 2022.
11
12
13                                                 RACHEL H. MITCHELL
                                                   MARICOPA COUNTY ATTORNEY
14
15                                                 By: /s/ Anna G. Critz
                                                      ANNA G. CRITZ
16
                                                      MAXINE S. MAK
17                                                    Deputy County Attorney
                                                     Attorneys for Maricopa County, Paul
18
                                                     Penzone, and Det. Officer Cline
19
20
21                                   CERTIFICATE OF SERVICE
22
              I hereby certify that on September 12, 2022, I caused the foregoing document to be
23     electronically transmitted to the Clerk’s Office using the TurboCourt System for filing and
24     transmittal of a Notice of Electronic Filing to the following registrants:
25
       Honorable Stephen Hopkins
26     Maricopa County Superior Court
27     Phoenix, AZ 85003
       Christina Gatz, Judicial Assistant
28     christina.gatz@jbazmc.maricopa.gov



                                                      2
     Case 2:22-cv-01531-DJH--MHB Document 1-3 Filed 09/12/22 Page 107 of 112




 1     Keith M. Knowlton, Esq.
       KEITH M. KNOWLTON, L.L.C.
 2
       9920 S. Rural Road, Ste. 108
 3     PMB #132
       Tempe, Arizona 85284-4100
 4
       keithknowlton@msn.com
 5     Attorneys for Plaintiff
 6
 7
       /s/ T. Palacios
 8     S:\CIVIL\CIV\Matters\CJ\2021\Magana v. MC 2021-1965\Pleadings\NOR\NOF NOR (state court).docx

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Case 2:22-cv-01531-DJH--MHB Document 1-3 Filed 09/12/22 Page 108 of 112




                             EXHIBIT A
     Case 2:22-cv-01531-DJH--MHB Document 1-3 Filed 09/12/22 Page 109 of 112




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       MARICOPA COUNTY ATTORNEY
 2
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             MAXINE S. MAK (031158)
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10
       ca-civilmailbox@mcao.maricopa.gov
11
       Attorneys for Maricopa County, Paul Penzone,
12
       and Det. Officer Cline
13
                         IN THE UNITED STATES DISTRICT COURT
14
                               FOR THE DISTRICT OF ARIZONA
15
16
        Marcos A. Magana,                            No. ____________________
17
18                      Plaintiff,

19      v.                                           NOTICE OF REMOVAL OF MARICOPA
                                                     COUNTY SUPERIOR COURT CASE NO.
20      County of Maricopa, a body government        CV2022-092740

21      of the State of Arizona; Paul Penzone,
        elected Sheriff of Maricopa County;
22      Detention Officer Marrero B4675 and
23      Spouse Marrero, husband and wife;
        Detention Officer Cline
24      B3662 and Spouse Cline, husband and
25      wife; John Does and Jane Does I-X and
        Entities I-X,
26                        Defendants.
27
             Defendants Maricopa County, Sheriff Penzone, and Officer Cline (“Defendants”),
28
       by and through undersigned counsel and pursuant to 28 U.S.C. §§1441(c), §1446(a), and

                                                 1
     Case 2:22-cv-01531-DJH--MHB Document 1-3 Filed 09/12/22 Page 110 of 112




 1
       Rule 3.6, Rules of Practice of the United States District Court for the District of Arizona,
 2
       notice the removal of the above-captioned case, cause number CV2022-092740, from the
 3
       Arizona Superior Court, Maricopa County, to this Court, and in support of removal assert
 4
       the following:
 5
              1.     On or about June 22, 2022, Plaintiff filed a Complaint against Defendants in
 6
       the Superior Court of the State of Arizona for the County of Maricopa under the caption
 7
 8     Marcos A. Magana v. County of Maricopa, et al.., No. CV2022-092740. A copy of the

 9     Complaint, and all other documents previously filed in this matter and served on Defendants

10     are attached hereto within Exhibit “B”. (Exhibit “A” is the Civil Cover Sheet.)
11            2.     The Complaint was served on Defendants on August 22, 2022.
12            3.     Defendants have not pleaded, answered, or otherwise appeared in the action.
13            4.     This Notice of Removal is filed within 30 days after service of the Complaint
14     and is therefore timely filed under 28 U.S.C. § 1446(b).
15            5.     The lawsuit, filed in Maricopa County, alleges the violations of Plaintiff’s
16
       rights under the First, Fourth, and Fourteenth Amendments of the U.S. Constitution,
17
       pursuant to 42 U.S.C. § 1983.
18
              6.     By reason of the above facts, (a) the United States District Court has original
19
       jurisdiction of this civil action pursuant to 28 U.S.C. §1331, because one or more claims
20
       asserted by the Plaintiff arises under the Constitution, laws, or treaties of the United States;
21
       and (b) the case is removable pursuant to 28 U.S.C. § 1441(c). All served defendants
22
23     consent to the removal of this action.

24            7.     A Notice of Filing of Notice of Removal, a true and correct copy of which is

25     attached as Exhibit “C”, has been filed in the Arizona Superior Court, County of Maricopa,
26     on behalf of Defendants.
27            WHEREFORE, Defendant respectfully requests that the above action now pending
28     in the Arizona Superior Court, Maricopa County, be removed to this Court.



                                                      2
     Case 2:22-cv-01531-DJH--MHB Document 1-3 Filed 09/12/22 Page 111 of 112




 1              RESPECTFULLY SUBMITTED this 12th day of September, 2022.
 2
 3                                                                RACHEL H. MITCHELL
                                                                  MARICOPA COUNTY ATTORNEY
 4
 5                                                                By: /s/ Anna G. Critz
                                                                     ANNA G. CRITZ
 6
                                                                     MAXINE S. MAK
 7                                                                   Deputy County Attorney
                                                                     Attorneys for Maricopa County, Paul
 8
                                                                     Penzone, and Det. Officer Cline
 9
10
11                                             CERTIFICATE OF SERVICE
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       Christina Gatz, Judicial Assistant
18     christina.gatz@jbazmc.maricopa.gov
19
       Keith M. Knowlton, Esq.
20     KEITH M. KNOWLTON, L.L.C.
21     9920 S. Rural Road, Ste. 108
       PMB #132
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25
26     /s/ T. Palacios
       S:\CIVIL\CIV\Matters\CJ\2021\Magana v. MC 2021-1965\Pleadings\NOR\NOR (fed court).docx
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           Case 2:22-cv-01531-DJH--MHB Document 1-3 Filed 09/12/22 Page 112 of 112


Tricia Palacios

From:                              TurboCourt Customer Service <CustomerService@TurboCourt.com>
Sent:                              Monday, September 12, 2022 1:17 PM
To:                                Tricia Palacios; Nancy Youngerman
Subject:                           AZTurboCourt E-Filing Courtesy Notification


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Forms:



Attached Documents:
Notice of Removal to Federal Court: Notice of Filing Notice of Removal
Exhibit/Attachment (Supporting): Exhibit A


E-Service notification was sent to the following recipient(s):

Keith M. Knowlton at keithknowlton@msn.com




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